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UNITED sTATES DIsTRICT CoURT ‘ ' "“"’ *‘*‘ ` '
WESTERN DISTRICT oF MICHIGAN gs rim 2 9 m n= m,
TIMoTHY J. RYAN and, wasn fsi l
CHRISTINE A. RYAN, 30 .._~,_»,..~..._._~____,

Case No. 1203-cv-439
Plaintiffs,
Hon. David W. McKeague
vs.

ADEL_ ` McGINN-LOOMIS and
MARY BENEDICT,

Defendants.

 

SUPPLEMENT TO PLAINTIFFS’ MOTION TO COMPEL THE DEPOSITIONS
OF JUDGE PATRICIA GARDNER. BARB INGRAM, BEVERLY FOUNTAIN,
AND JUDGE PATRICK HILLARY

Plaintiffs have filed a motion to compel the depositions of Judge Patricia
Gardner, Barb lngram and Beverly Fountain. Plaintiffs subsequently amended their
motion to request that this Court also compel Judge Patrick Hillary to submit to
deposition. Judge Patrick Hillary has taken the same position With respect to his
deposition as Judge Gardner and her staff.

Plaintiffs’ motion to compel is scheduled to be heard by the Honorable

Joseph G. Scoville on Friday, January 30, 2004, at 10:00 a.m.

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At the time that plaintiffs filed their motion, the deposition transcript of
defendant Adele-McGinn Loomis Was not completed, and the deposition of defendant
Mary Benedict had not yet been taken. The depositions of both defendants have since
been taken, and the transcript of each deposition is now completed.

Attached to this supplement as Exhibit 1 are the pages from defendant
McGinn-Loomis’ deposition transcript that reference her contacts With the proposed
deponents.

Attached to this supplement as Exhibit 2 are the pages from defendant

Benedict’s deposition transcript that reference her contacts with the proposed deponents.

MILLER,]OHNSON, SNELL & CUMMISKEY, P.L.C.
Attorneys for Plaintiffs

Dated: January<;)_(l, 2004 By R`M,u)> O! w

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`c ard E. Hillary, II (P560 2)

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